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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

                                                       CIVIL ACTION NO: 1:19-cv-00437-
                                                       DBH

 CITIMORTGAGE, INC.

                    PLAINTIFF

 v.

 CARRIE L. COOPER AKA CARRIE COOPER,
 DAVID W. COOPER AKA DAVID COOPER
 AND MIDLAND FUNDING, LLC                                   ORDER AND JUDGMENT OF
                                                            FORECLOSURE AND SALE
                  DEFENDANTS

                                                             Title to Real Estate Involved


                        76 North Road, Winterport, State of Maine
                       Waldo Registry of Deeds in Book 3383, Page 315

        Following Plaintiff’s motion for judgment on documentary evidence, the Court having
reviewed Plaintiff’s submissions and finding them to be sufficient to entitle Plaintiff to judgment
of foreclosure, the Court finds as follows:

       1.      That the parties have received notice of the proceedings in this action, having
previously returned waivers of service and failed to appear at the scheduled motion for default
judgment, and that the notice was given in accordance with the applicable provisions of the
Federal Rules of Civil Procedure.

       2.      That venue is properly laid in this Court.

       3.      That Plaintiff is entitled to judgment as a matter of law.

       4.     That Defendants Carrie L. Cooper a/k/a Carrie Cooper and David W. Cooper
a/k/a David Cooper are in breach of the terms of a certain promissory note held by the Plaintiff
dated October 9, 2009, (the “Note”), with such breach constituting a default by the Defendants,
and upon such default, proper notice of default was sent to the Defendants.

       5.      That the default of the Note caused a breach of the Mortgage.

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        6.      That Plaintiff is the mortgagee of record of a mortgage securing the Note and
recorded in the Waldo Registry of Deeds in Book 3383, Page 315 (“Mortgage”). The Mortgage
encumbers real estate located at 76 North Road, Winterport, State of Maine (“Property”). The
legal description of the Property contained in the Mortgage, as reformed by this judgment on the
Court’s inherent authority to correct a scrivener’s error, is incorporated herein by reference and
attached hereto as Exhibit A (correcting the date in the final paragraph from 2089 to 1989).

       7.     That as of November 1, 2020, the following amounts are owed to Plaintiff, its
successors and/or assigns, under the terms of the Note and Mortgage:
               a. Principal Balance                                 $124,206.53
               b. Accrued Interest                                  $52,709.80
                          (plus interest at a per diem of $17.87)
               c. Escrow Advances                                   $38,858.27
               d. Property Preservation                             $7,805.00
               e. Property Inspection Fees                          $208.75
               f. Balance Transfer                                  $26,885.24
               g. Attorney’s Fees                                   $3,040.00
               h. Attorney’s Costs                                  $805.48

                Total:                                                  $254,519.07

       Plaintiff, its successors and/or assigns, is entitled to add any additional attorney’s fees
and costs incurred in connection with the foreclosure, including any post-judgment attorney’s
fees and costs, as well as any additional amounts advanced or expended by Plaintiff, its
successors and/or assigns, pursuant to the Note and Mortgage.

         8.      That the order of priorities and amount of the claims of the parties who have
appeared in this action for distribution from the proceeds of sale, after payment of expenses of
sale, in this case are as follows:

                a. Plaintiff, its successors and/or assigns, in the amount of $254,519.07, plus
                   accrued interest at the rate of 5.25% per annum, $17.87 per day to the date of
                   entry of judgment, plus interest after judgment at a rate of 7.53% per annum
                   [pursuant to 14 M.R.S.A. § 1602-C. Further, Plaintiff, its successors and/or
                   assigns, is entitled to the additional amounts incurred by Plaintiff, its
                   successors and/or assigns, as described in Paragraph 7 above, including but
                   not limited to attorney’s fees and costs, insurance premiums, and real estate
                   taxes;

                b. Defendant Midland Funding LLC failed to file and answer or Affidavit of
                   Debt and therefore will not receive any proceeds from sale.

                c. Defendants Carrie L. Cooper a/k/a Carrie Cooper and David W. Cooper a/k/a
                   David Cooper: any excess proceeds from sale, pursuant to 14 M.R.S.A. §
                   6324.

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       9.      That the names and addresses (if known) of all parties to this action and their
counsel of record are identified as follows:

                       CitiMortgage, Inc.
                       425 Phillips Boulevard
                       Ewing, NJ 08618

                       Bendett & McHugh, P.C.
                       Attorneys for CitiMortgage, Inc.
                       30 Danforth Street, Suite 104
                       Portland, ME 04101

                       Carrie L. Cooper a/k/a Carrie Cooper
                       5496 Glenville Circle
                       Virginia Beach, VA 23464

                       David W. Cooper a/k/a David Cooper
                       15 Hi View Lane
                       Corinth, ME 04427

                       Midland Funding LLC
                       c/o Corporation Service Company
                       45 Memorial Circle
                       Augusta, ME 04330

        10.   That the Plaintiff’s claim for attorney fees is not integral to the relief sought,
within the meaning of M.R. Civ. P. 54(b)(2); and

      11.    That the Federal Rules of Civil Procedure do not require mediation, and therefore
M.R.S.A. § 6321-A and M.R. Civ. P. 93 do not apply;

        12.      That there is no just reason for delay in the entry of final judgment for Plaintiff on
all claims, except for the claim for Attorney’s fees and disbursements and additional amounts
advanced by Plaintiff, its successors and/or assigns, related to its mortgage security incurred by
Plaintiff, its successors and/or assigns, after the date of Plaintiff’s Affidavit, for the following
reasons:

                a. If judgment is granted but not entered as final, the time periods set forth in 14
                   M.R.S.A §§ 6322 and 6323 will commence even though the judgment is
                   subject to later revision;

                b. The Plaintiff, its successors and/or assigns, and any bidders at the foreclosure
                   sale would be exposed to some risk in proceeding to a sale if judgment is not
                   final and remains subject to revision; and



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              c. Any dispute regarding post-judgment Attorney’s fees and disbursements or
                 additional amounts advanced by Plaintiff, its successors and/or assigns,
                 related to its mortgage security may be resolved by the Defendant(s) filing a
                 motion contesting Plaintiff’s, its successors and/or assigns, Report of Public
                 Sale as provided in 14 M.R.S.A. § 6324.


      WHEREFORE, it is hereby Ordered and Decreed:

  A. That Count I of the Amended Complaint is GRANTED, and if Defendants Carrie L.
     Cooper a/k/a Carrie Cooper and David W. Cooper a/k/a David Cooper, their heirs and
     assigns, do not pay the Plaintiff, its successors and/or assigns, the amounts adjudged to be
     due to Plaintiff, its successors and/or assigns, as set forth in Paragraph 8(a) above within
     ninety (90) days from the date of entry of this Order, Plaintiff, its successors and/or
     assigns, (through its agents or attorneys) shall proceed with a sale of the Property
     described in the Mortgage, pursuant to 14 M.R.S.A. §§ 6321-6324, free and clear of all
     liens, except liens senior to Plaintiff’s, its successors and/or assigns, Mortgage, and shall
     pay the proceeds of sale, after satisfying expenses of sale, in the amounts, manner, and
     priority set forth in Paragraph 8 above;

  B. That the Clerk is hereby directed to enter this Order and Judgment of Foreclosure and
     Sale as a final judgment pursuant to F. R. Civ. P. 54(b), except as to any additional post-
     judgment Attorney’s fees and disbursements or additional amounts advanced by Plaintiff,
     its successors and/or assigns, related to its mortgage security;

  C. That if Defendants Carrie L. Cooper a/k/a Carrie Cooper and David W. Cooper a/k/a
     David Cooper fail to redeem by paying the above amounts adjudged to be due on or
     before ninety (90) days from the date of entry of this Order, or within such additional
     time as Plaintiff, its successors and/or assigns, may in its sole discretion allow, or if
     Defendants Carrie L. Cooper a/k/a Carrie Cooper and David W. Cooper a/k/a David
     Cooper abandon the Property, Plaintiff, its successors and/or assigns, shall then be
     entitled, at its option, to take exclusive possession of the Property described in Plaintiff’s,
     its successors and/or assigns, Mortgage, and Clerk shall issue a Writ of Possession at the
     request of Plaintiff, its successors and/or assigns;

  D. That Plaintiff, its successors and/or assigns, is entitled, at its option, to have a receiver
     appointed to collect the rents of the Property pursuant to the Mortgage;

  E. That no execution shall issue against Defendants for any deficiency and Count II is
     therefore dismissed as moot;

  F. That Plaintiff, its successors and/or assigns, shall specify Attorney’s fees and
     disbursements incurred after the date of Attorney’s Fees and Disbursements Affidavit in
     its Report of Public Sale, which shall then constitute a timely application for an award of
     additional attorneys’ disbursements, notwithstanding Local Rule 54.2; Defendants may



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       contest the Report and application for additional Attorney’s fees and disbursements by
       filing a motion pursuant to 14 M.R.S.A. §6324;

   G. That once the applicable appeal period has expired as determined under F. R. Civ. P. 58
      and F. R. App. P. 3, Plaintiff, its successors and/or assigns, shall prepare and the Clerk
      shall execute an appropriate certification either that no action was taken or that an appeal
      was filed, and Plaintiff, its successors and/or assigns, shall then record the said
      certification and a copy of this Judgment in the Waldo County Registry of Deeds and pay
      the recording fees therefore, in compliance with 14 M.R.S.A. § 2401(3), such fees and
      costs so incurred by Plaintiff, its successors and/or assigns, to be added to and become
      part of the mortgage indebtedness secured by the Mortgage; and

   H. That the Clerk shall enter the following in the docket:

        “Order and Judgment of Foreclosure and Sale dated ______________________, 20____
for the Plaintiff, its successors and/or assigns, as a final judgment except for additional
Attorney’s fees and disbursements and any additional amounts advanced by Plaintiff, its
successors and/or assigns, related to its mortgage security, and said Order is incorporated in the
docket by reference. This entry is made in accordance with F. R. Civ. P. 79(a) at the specific
direction of the Court.”

SO ORDERED this 5th Day of November, 2020.

                                                             /s/ D. Brock Hornby
                                                             D. Brock Hornby
                                                             U.S. District Judge

Date entered in the docket: November 5, 2020



         CERTIFICATION OF CLERK PURSUANT TO 14 M.R.S.A. § 2401(3)(F)

        Pursuant to 14 M.R.S.A. § 2401(3)(F), it is hereby certified that no notice of appeal of the
Judgment of Foreclosure and Sale in this matter was filed with the Clerk of Court in this action
within the appeal period following the entry of judgment, as provided by F. R. Civ. P. 58 and F.
R. App. P. 3.

Dated: _____________________                         ____________________________________
                                                              Clerk of Court




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